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                                     UNITED STATES DISTRICT COURT
                                             DISTRICT OF NEBRASKA
Denise M. Lucks                               OFFICE OF THE CLERK                                      M. Therese Bollerup
Clerk of Court                                   www.ned.uscourts.gov                                   Chief Deputy Clerk



         TO:             The Honorable Richard G. Kopf

         FROM:           Clerk, U.S. District Court
                         Connie J. Schultz

         DATE:           October 1, 2007

         SUBJECT:        4:06CR3027 - USA v. Ruben Dario Nunez (3)

         A party, who has already been permitted to proceed in forma pauperis, or who is financially
         unable to obtain adequate defense in a criminal case, has filed a Notice of Appeal. Pursuant to
         the third paragraph of FRAP 24(a), a party may proceed on appeal in forma pauperis without
         further authorization unless the district judge certifies that the appeal is not taken in good faith or
         finds that the party is otherwise not entitled to proceed on appeal in forma pauperis. The district
         judge shall state in writing the reasons for such a certification or finding.

         In order for the Clerk’s office to process this appeal, please advise our office how you intend to
         proceed:

                  X      No order will be entered in this direct criminal appeal, and the party is
                         permitted to proceed on appeal in forma pauperis.
                         An order will be entered finding that the party is not entitled to proceed in
                         forma pauperis.
                         An order will be entered, and the party is permitted to proceed on appeal
                         in forma pauperis.
                         An order will be entered in this § 2254 or § 2255 case regarding Certificate
                         of Appealability.

         Dated this 1st day of October, 2007.

                                                             s/ Richard G. Kopf
                                                             United States District Judge


                               Additional Requirement for State Habeas or 2255 Cases

         Pursuant to Rule 22(b) of the Rules of Appellate Procedure and 28 U.S.C. § 2253 (c), the district
         judge who rendered the judgment shall either issue a certificate of appealability or state the
         reasons why such a certificate should not be issued.

         Transmission of the Notice of Appeal to the Court of Appeals will be delayed until this court rules
         on the in forma pauperis status and the certificate of appealability.




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